    Case 8:15-cv-02034-JVS-JCG Document 946 Filed 04/16/20 Page 1 of 2 Page ID #:67721
AO 120 (Rev. 08/10)

                            Mail Stop 8                                                        REPORT ON THE
TO:
         Director of the U.S. Patent and Trademark Office                              FILING OR DETERMINATION OF AN
                           P.O. Box 1450                                               ACTION REGARDING A PATENT OR
                    Alexandria, VA 22313-1450                                                    TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                for the Central District of California                        on the following
      G Trademarks or         ✔ Patents.
                              G             (   G   the patent action involves 35 U.S.C. § 292.):

DOCKET NO.                        DATE FILED                        U.S. DISTRICT COURT
    8:19-cv-2223 JVS                       11/15/2019                                   for the Central District of California
PLAINTIFF                                                                    DEFENDANT
 INTERNATIONAL LICENSE EXCHANGE                                                D-LINK SYSTEMS, INC.
 OF AMERICA, LLC


        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1 see attached

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                                In the above—entitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                         G
                                                     Amendment                  G   Answer          G   Cross Bill   G   Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                        HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
1

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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
 Order Granting Joint Stipulation to Stay Case. Case terminated. MD JS-6




CLERK                                                        (BY) DEPUTY CLERK                                          DATE
Kiry K. Gray                                                   E. Synagogue                                                    4/16/2020

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
Case 8:15-cv-02034-JVS-JCG Document 946 Filed 04/16/20 Page 2 of 2 Page ID #:67722




                              AO 120 – Attachment Page


      PATENT OR         DATE OF PATENT     HOLDER OF PATENT OR TRADEMARK
    TRADEMARK NO.       OR TRADEMARK
     US 5,959,990         Sept. 28, 1999   International License Exchange of America, LLC

    US RE40,999 E          Nov. 24, 2009   International License Exchange of America, LLC

    US RE44,775 E          Feb. 25, 2014   International License Exchange of America, LLC

    US RE45,081 E          Aug. 19, 2014   International License Exchange of America, LLC

    US RE45,065 E          Aug. 5, 2014    International License Exchange of America, LLC

    US RE45,095 E          Aug. 26, 2014   International License Exchange of America, LLC
